                      Case 1:21-mj-00565-ZMF Document 1 Filed 08/16/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                   Jeffrey Scott Brown
                                                                     )
                     DOB: XXXXXX                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                              in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
         18 U.S.C. §§ 111(a)(1) and (b) - Inflicting Bodily Injury on Certain Officers,
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder,
         18 U.S.C. §§ 1752(a)(1), (2) and (4) - Entering and Remaining in a Restricted Building or Grounds, Disorderly
        and Disruptive Conduct in a Restricted Building for Grounds, and Engaging in Physical Violence in a Restricted
        Building or Grounds,
        40 U.S.C. §§ 5104(e)(2)(D), (E), and (F) - Disorderly Conduct in a Capitol Building, Impeding Passage
        Through the Capitol Grounds or Buildings, and Act of Physical Violence in the Capitol Grounds or Buildings.
         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                        Jessica Salo, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                           2021.08.16
Date:             08/16/2021                                                                               19:44:04 -04'00'
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                          Zia M. Faruqui, U.S. Magistrate Judge
                                                                                               Printed name and title
